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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN

 In re:
                                                                 Chapter 11
 BARFLY VENTURES, LLC, et al, i                                  Case No. 20-01947-jwb
                                                                 Hon. James W. Boyd
                        Debtors.                                 Jointly Administered


          NOTICE OF FIRST APPLICATION OF AMHERST CONSULTING, LLC
                  FOR COMPENSATION AS FINANCIAL ADVISOR
            TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

       Notice is hereby given that the following professional persons have made application to
the United States Bankruptcy Court for the Western District of Michigan for allowance and
payment of fees incurred for the period from June 25, 2020 through October 31, 2020, as listed
below:

 Professional (name and address):                   Amherst Consulting, LLC
                                                    255 E. Brown St., Ste. 120
                                                    Birmingham, MI 48009

 Fees requested:                                    $53,780.00

 Expenses requested:                                $0.00

 Fees previously allowed by Court:                  N/A


PLEASE NOTE: The application is available for public review at the Clerk's Office, One Division
North, Grand Rapids, Michigan, Monday through Friday, from 8:00 a.m. - 4:00 p.m. No hearing
will be set before the Court unless a written objection to this application is timely filed with the
Clerk of the Bankruptcy Court. If you have any objection, you have 21 days from the date of
service of this notice in which to file such written objection. If an objection is filed, a subsequent
notice will be sent to you of the date, time and location of the hearing on the objection.

1 The Debtors are: Barfly Ventures, LLC (8379), Barfly
                                                       Management, LLC (6274), 9 Volt, LLC (d/b/a
HopCat)(l 129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand
Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann
Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit,
LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC
(d/b/a HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994), Luck
of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden's Restaurant Saloon)(4255).


5047198.vl
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                  ANY OBJECTION MUST BE TIMELY FILED WITH:

                             United State Bankruptcy Court
                                  One Division North
                             Grand Rapids, Michigan 49503

               A COPY OF ANY OBJECTION MUST ALSO BE SENT TO:

                             Jaffe Raitt Heuer & Weiss, P.C.
                                    Attn: Paul R. Hage
                               27777 Franklin, Suite 2500
                               Southfield, Michigan 48034



                                        Respectfully submitted by,

                                        JAFFE RAIT HEUER & WEISS, P.C.

                                        By:    /s/ Paul R. Hage
                                        Paul R. Hage (P70460)
                                        27777 Franklin Road, Suite 2500
                                        Southfield, MI 48034
                                        Phone:(248)351-3000


                                        -and-

                                        SUGAR FELSENTHAL GRAIS &
                                        HELSINGER, LLP

                                        Michael A. Brandess
                                        30 N. LaSalle Street, Suite 3000
                                        Chicago, IL 60602
                                        Phone: (312) 704-9400


                                        Counsel to the Official Committee of Unsecured
                                        Creditors of Barfly Ventures, LLC et al.

Dated: December 2, 2020.
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                           UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN

 In re:
                                                                         Chapter 11
 BARFLY VENTURES, LLC, et al,2                                           Case No. 20-01947-jwb
                                                                         Hon. James W. Boyd
                            Debtors.                                     Jointly Administered


              FIRST APPLICATION OF AMHERST CONSULTING, LLC FOR
                     COMPENSATION AS FINANCIAL ADVISOR
             TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

          Amherst Consulting, LLC ("Amherst"), financial advisor to the Official Committee of

Unsecured Creditors of Barfly Ventures, LLC (the "Committee") appointed in the above-captioned

chapter 11 cases, submits this first application (the "Fee Application") for compensation for

services rendered as financial advisor to the Committee from June 25, 2020 through October 31,

2020 (the "Application Period"), pursuant to section 330 and 331 of the Bankruptcy Code, Rule

2016 of the Federal Rules of Bankruptcy Procedure, Local Bankruptcy Rule 2016-2 and the Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

Professionals [Doc. No. 113] (the "Compensation Order").3 In support of this Fee Application,

Amherst states:



2 The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a HopCat)(l129),

50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand Rapids Brewing
Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-
Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC
(9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970), HopCat-
Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC andTikicat)(6242), HopCat-Lexington,
LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-
Minneapolis, LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis,
LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden's Restaurant
Saloon)(4255).

3 The Bankruptcy Code is set forth in 11 U.S.C. §§101 etseq. Specific sections of the Bankruptcy Code are identified

herein as "section      Similarly, specific rules from the Federal Rules of Bankruptcy Procedure are identified herein
as "Bankruptcy Rule " and specific rules from the Local Bankruptcy Rules of the United States Bankruptcy Court
for the Western District of Michigan are identified herein as "Local Bankruptcy Rule
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                                       Jurisdiction & Venue

                 The Court has jurisdiction over this matter under 28 U.S.C. § 1334 and

28 U.S.C. § 157(a). This is a core proceeding under 28 U.S.C. § 157(b). Venue is proper in this

District under 28 U.S.C. §§ 1408 and 1409. The statutory bases for the relief requested in this Fee

Application are sections 330, 331 and 503(b)(2), Bankruptcy Rule 2016 and Local Bankruptcy

Rule 2016-2.

                                           Background

       2.        On June 3, 2020, Barfly Ventures, LLC and its affiliates (collectively, the

"Debtors") filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The

Debtors continue to manage their remaining assets and financial affairs as debtors in possession.

                 The Office of the United States Trustee appointed the Committee on June 23,2020

[Doc. No. 85].

       4.        The Court entered an order approving Amherst's employment as financial advisor

for the Committee, retroactive to June 25, 2020, on August 10, 2020 [Doc. No. 231] (the

"Employment Order").

                 The Court entered the Compensation Order on June 30, 2020. The Compensation

Order authorizes professionals retained in these cases, including Amherst, to file with the Court

and serve monthly statements of fees and expenses on parties identified in the Compensation

Order. If no timely objections were filed, the Debtors were authorized to pay each professional

80% of the fees and 100% of the expenses requested in each monthly statement.

                                    Request for Compensation

       6.        In connection with professional services rendered to the Committee in these cases

during the Application Period, Amherst seeks allowance of an administrative expense pursuant to

section 503(b)(2) in the amount of $53,780.00, which consists of compensation in the amount of
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$53,780.00 and reimbursement of expenses incurred in the amount of $0.00. Additionally, to the

extent not previously paid under the Compensation Order, Amherst seeks prompt payment of such

administrative expense.

        7.          As provided by the Compensation Order, Amherst served monthly statements for

interim compensation and expense reimbursement for the months of June/July 2020, August 2020,

September 2020 and October 2020 (each, a "Monthly Statement" and collectively, the "Monthly

Statements") during the Application Period. The amounts sought under each Monthly Statement

are summarized as follows:

                                                             Total Fee$&        Fees & Expenses Paid    Outstanding
  Monthly Period          Fees          Expenses
                                                              Expenses         Per Compensation Order     Balance

   June/July 2020          $28,185.00              $0.00          $28,185.00               $22,548.00         $5,637.00
    August 2020             $5,485.00              $0.00           $5,485.00                $4,388.00         $1,097.00
  September 2020           $17,640.00              $0.00          $17,640.00               $14,112.00         $3,528.00
    October 2020            $2,470.00              $0.00           $2,470.00                $1,976.00           $494.00

             Total:        $53,780.00              $0.00 r        $53,780.00               $43,024.00       $10,756.00


The fees and expenses for October 2020 ($1,976.00) that are payable under the Compensation

Order have not yet been paid, but Amherst understands that such amounts will be paid in the

coming days.

        8.          Attached to this Application as Exhibits A-D, in the form of the Monthly

Statements, are detailed statements of fees and expenses incurred during the Application Period.

The time described in the Monthly Statements attached to this Application represents the actual

amount of time spent or, in certain instances, less than the actual amount of time spent by Amherst

professionals who rendered the services described.

        9.          No objections to the Monthly Statements were filed, and under the Compensation

Order, Amherst was entitled to, and received, payment of $43,024.00 from the Debtors for fees

incurred during the Application Period.
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          10.      Amherst's hourly rates of compensation for professionals during the Application

Period ranged from $250.00 to $400.00. These rates are comparable to, or lower than, rates charged

by other practitioners having the same level of experience, expertise, and standing for similar

services. Amherst consistently and consciously made every reasonable effort to represent the

Committee in the most economical, efficient, and practical manner possible.

          11.      Amherst professionals expended significant effort during the Application Period to

ensure the successful administration of these chapter 11 cases. On behalf of the Committee,

Amherst undertook an investigation of the Debtors' business operations, addressed various issues

related to the paycheck protection program loan obtained by the Debtors, monitored the Debtors'

cash flow and administrative solvency, helped to ensure a fair and fulsome sale process aimed at

maximizing the value of the Debtors' assets for the benefit of creditors, and addressed various

other issues consistent with their duties as financial advisor for the Committee. Accordingly, the

time spent and expenses incurred during the Application Period were necessary and appropriate

under the circumstances.

       12.        The services rendered by Amherst during the Application Period are grouped into

various categories, and the professionals who rendered those services are identified—along with

the number of hours spent by each individual and the total compensation sought for each

category—in the attachments to this Fee Application. Brief descriptions of the services rendered

by Amherst during the Application Period, by category, follow:

     A.      Asset Sales

       Amherst spent 43.5 hours during the Application Period analyzing and addressing issues

related to the Debtors' marketing and sale process. This category includes time spent reviewing

and analyzing the Debtors' proposed sale procedures and sale related documents. It also includes
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time spent communicating with Mastodon and other estate professionals regarding the status of

the sale process. Finally, this category includes certain time spent analyzing and negotiating the

wind-down budget based on various sale related scenarios and participation in mediation regarding

the proposed sale.

      B.   Case Administration

       Amherst spent 34.5 hours during the Application Period handling general matters related

to the administration of these chapter 11 cases. This includes time spent addressing and responding

to first day issues, evaluating the proposed Mastodon engagement, and communications with estate

professionals regarding general case status and strategy.

     C.    Cash Flow/Liquidity

       Amherst spent 22.7 hours during the Application Period addressing cash flow and liquidity

issues related to the Debtors. This included analyzing and addressing cash flow and liquidity

projections prepared by the Debtors' professionals, reviewing the Debtors' bankruptcy schedules

and addressing issues related to the use of the proceeds of the paycheck protection program loan

that the Debtors obtained prior to the petition date.

      D.   Committee Meetings/Communications

       Amherst spent 23.3 hours during the Application Period participating in periodic (usually

weekly) meetings with the Committee and its professionals. This category also includes time

related to telephonic and e-mail communications with Committee members and Committee

professionals.

      E.   Financial Information Analysis

        Amherst spent 25.4 hours during the Application Period analyzing various financial

analyses prepared by the Debtors including profit and loss statements, cure cost analyses, paycheck
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protection program loan proceed analyses and sale related financials contained in the Debtors'

Debtors' data room.

     F.      Retention/Fee Applications

       Amherst spent 3.8 hours during the Application Period related to the preparation of its

retention application and monthly fee statements.

       13.      Amherst submits that the compensation sought under this Fee Application

represents a fair and reasonable amount for the services rendered during the Application Period,

given the criteria set forth in section 330 for evaluating applications for compensation, namely:

           (A) the time spent on such services;
           (B) the rates charged for such services;
            (C) whether the services were necessary to the administration of, or beneficial
       at the time at which the service was rendered toward the completion of, a case under
       this title;
            (D) whether the services were performed within a reasonable amount of time
       commensurate with the complexity, importance, and nature of the problem, issue,
       or task addressed;
            (E) with respect to a professional person, whether the person is board certified
       or otherwise has demonstrated skill and experience in the bankruptcy field; and
            (F) whether the compensation is reasonable based on the customary
       compensation charged by comparably skilled practitioners in cases other than cases
       under this title.

11 U.S.C. § 330(a)(3).

       14.      Amherst is not seeking reimbursement for any expenses incurred, such as local and

long-distance telephone calls, secretarial services, electronic research, and facsimile transmissions.

Such expenses are factored into Amherst's hourly rates.

       15.      This Fee Application is Amherst's first request for allowance of fees as an

administrative expense for services performed as financial advisor to the Committee. Under this

Fee Application, Amherst seeks an order (a) allowing and approving compensation to Amherst of

$53,780.00 for professional services rendered; and (b) authorizing payment to Amherst for
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amounts approved under the Fee Application to the extent not already paid by the Debtors under

the Compensation Order.

       16.      The Committee professionals did not receive a retainer in these chapter 11 cases.

To date, Amherst has been paid a total of $43,024.00 by the Debtors for its postpetition fees and

expenses incurred in these chapter 11 cases during the Application Period pursuant to the

Compensation Order. Such amount has not been shared, and no agreement or understanding exists

between Amherst and any other entity for the sharing of compensation received or to be received

for services rendered in or in connection with these chapter 11 cases.        Presuming this Fee

Application is approved in its entirety, the outstanding amount owed to Amherst for unpaid fees

and expenses during the Application Period will be $10,756.00.

       17.      In compliance with Bankruptcy Rule 2002(a)(6), Local Bankruptcy Rule 2016-

2(c), and the Compensation Order, Amherst will provide notice of this Fee Application through

the Court's ECF system to: (a) counsel for the Debtors; (b) the Office of the United States Trustee

for the Western District of Michigan; and (c) parties who have filed a notice of appearance with

the Clerk of the Court and requested notice of filings in these cases. Additionally, Amherst will

provide notice of this Fee Application, by electronic mail, to: (i) BarFly Ventures, LLC, c/o Mark

A. Sellers, III, 35 Oakes Street, SW, Suite 400, Grand Rapids, Michigan 49503, email:

mark@barflyventures.com; (ii) Pachulski Stang Ziehl & Jones LLP (Attn. John Lucas), 150

California Street, 15th Floor San Francisco, California 94111-4500, email: jlucas@pszjlaw.com;

(iii) Warner Norcross + Judd LLP, 1500 Warner Building, 150 Ottawa Avenue, NW, Grand

Rapids, Michigan 49503 (Attn. Elisabeth M. Von Eitzen), email: evoneitzen@wnj.com; (iv) the

Office of the United States Trustee, 125 Ottawa Street, Suite 200R, Grand Rapids, Michigan 49503

(Attn. Michael Maggio), email: michael.v.maggio@usdoj.gov; (v) Rayman & Knight, 141 E
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Michigan Ave # 301, Kalamazoo, Michigan 49007 (Attn: Steve Rayman), email:

slr@raymanknight.com; and (vi) Paul Hastings LLP, 71 South Wacker Drive, Suite 4500,

Chicago, Illinois 60606 (Attn: Nathan S. Gimpel), email: nathangimpel@paulhastings.com.

Amherst submits that, in light of the nature of the relief requested, no other or further notice need

be provided.

       WHEREFORE, Amherst respectfully requests that this Court enter an order substantially

in the form attached as Exhibit E to this Fee Application:

       (a) Allowing and approving an administrative expense in the amount of $53,780.00 for
           professional services rendered by Amherst during the Application Period as the
           Committee's financial advisor;

       (b) Authorizing payment to Amherst of $10,756.00; reflecting the amounts approved under
           this Fee Application that were not previously paid pursuant to the Compensation Order;
           and

       (c) Providing Amherst with any additional relief as may be appropriate under the
           circumstances.
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                                     Respectfully submitted by,

Dated: December 2, 2020              JAFFE RAIT HEUER & WEISS, P.C.

                                     By;    /s/ Paul R. Hage
                                     Paul R. Hage (P70460)
                                     27777 Franklin Road, Suite 2500
                                     Southfield, MI 48034
                                     (248) 351-3000
                                     p'hage@:i affel aw, com.

                                     -and-

                                     SUGAR FELSENTHAL GRAIS &
                                     HELSINGER, LLP

                                     Michael A. Brandess
                                     30 N. LaSalle Street, Suite 3000
                                     Chicago, IL 60602
                                     (312) 704-9400
                                     mbrandess@sfgh,com.

                                     Counsel for the Official Committee of Unsecured
                                     Creditors of Barfly Ventures, LLC
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                           Exhibit A
               (June/July Monthly Fee Statement)
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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

  In re:
                                                       Chapter 11
  BARFLY VENTURES, LLC, et. al        i
                                                       Case No. 20-01947-jwb

              Debtors.                                 (Jointly Administered)



      MONTHLY FEE STATEMENT OF AMHERST CONSULTING, LLC FOR COMPENSATION FOR
      SERVICES RENDERED & REIMBURSEMENT OF EXPENSES AS FINANCIAL ADVISOR TO THE
          OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR JUNE AND JULY 2020


 Name of Applicant:                            Amherst Consulting, LLC
 Authorized to provide services to:            Official Committee of Unsecured Creditors
 Effective Date of Retention:                  August 10, 2020 (retroactive to June 25)
 Period for which compensation is sought:      June and July 2020
 Amount of compensation sought as actual,      $28,185.00
 reasonable, and necessary:                    80% = $22,548.00
                                               20% = $5,637.00

 Amount of expense reimbursement sought:       $0.00

 Total interim request:                        $22,548.00




1 The Debtors are: Barfly
                           Ventures, LLC, (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC,
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat- GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat-KC, LLC and
TikiCat)(6242), HopCat Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat- Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat- Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House LLC and McFadden's Restaurant
Saloon) (4255).



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                                    Respectfully submitted by,

                                    JAFFE RAIT HEUER & WEISS, P.O.

                                    By:    /s/ Paul R, Hage
                                    Paul R. Hage (P70460)
                                    27777 Franklin Road, Suite 2500
                                    Southfield, MI 48034
                                    Phone: (248) 351-3000
                                    phage@i affelaw,com

                                    -and-

                                    SUGAR FELSENTHAL GRAIS &
                                    HELSINGER, LLP

                                    Michael A. Brandess
                                    Elizabeth Vandesteeg
                                    30 N, LaSalle Street, Suite 3000
                                    Chicago, IL 60602
                                    Phone: (312) 704-9400
                                    mbradness@sfgh.com
                                    evandesteeg@sfgh,com

                                    Counsel for the Committee

Dated: August 14, 2020.
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AmherstConsulting                                                                                           Amherst Consulting, LLC
                                                                                                            255 E. Brown St., Ste 120
                                                                                                               Birmingham, Ml 48009



Customer:
Official UCC of Barfly Ventures, LLC                                                                                   Invoice
c/o Gordon Food Service, inc.
1300 Gezon Parkway S.W.                                                                                Invoice #:             41843
Wyoming, Ml 49509
Attn: Ms. Sharon Murphy                                                                             Invoice Date:           8/3/2020
                                                                                                       Due Date:            8/3/2020


        Date        Category           Name                         Description                  Hours          Rate        Amount

                                                   For Professional Services rendered
                                                   through July 31, 2020 - see detail
                                                   below.

   7/1/2020       CF/Liquidity |Partner-Sto... f Review list of questions to debtor FA               0.20         400.00        80.00
                                                   (-2)
  17/1/2020       Committee    ! Partner-Sto... I! PC w/ M. Brandess (.1)                            0.10         400.00        40.00
                  Mtg /        |               |
                  Communicati I                  I
                  on
  |7/1/2020       Case Admin j Partner-Sto... j Work on engagement letter (.3)                       0.30          400.00      120.00
   j 7/1/2020     CF/Liquidity j MD-Morden j Review of PPP and lease documents                       0.60          350.00      210.00
                                                   (0.6)
   7/1/2020       Retention / j MD-Morden      |j Engagement letter mark-up (0.5)                    0.50          350.00      175.00
                  Fee Appi    |                 j
   7/1/2020       Case Admin j MD-Morden        j Call with M. Brandess on general                   0.10          350.00       35.00
                              j                 j engagement (0.1)
   7/2/2020       Asset Sales \ Partner-Sto... j Review Sales Procedures (.50)                       0.50          400.00      200.00
   7/2/2020       Case Admin j Partner-Sto... j Read and respond to emails (.50)                     0.50          400.00      200.00
   7/2/2020        Committee |MD-Morden |Prep and attend UCC call (0.8)                              0.80          350.00      280.00
                   Mtg/
                   Communicati
                   on
   7/2/2020      J Case Admin {MD-Morden {Review sales process motion (1.1), call j                  2.40          350.00      840.00 }
                 j             j              |with M.Brandess and L. Vandesteeg           \
                 }             J              |on Mastodon discussion (0.3), info          [
                 j             l               J request to IB (0.2), IB transaction rates
                 j             |               | review (0.7), Email to S. Stone on UCC
                 |             !               j call and next steps (0.1)                 j
   7/3/2020        Case Admin j Analyst - M... J Searching Amherst computer database I               1.00          250.00      250.00
                                j              |to identifying potential conflicts of      }
                               |           . j interest (1 h)                               j
   7/3/2020        Case Admin J Partner-Sto... j Read and respond to emails (.2)           {         0.20          400.00       80.00
   7/3/2020        Case Admin j MD-Morden j Review Mastadon talking points (0.1), j                  1.70          350.00      595.00
                                j              I call with mastodon and counsel (1.4), j
                               I                 follow-up call with counsel (0.2)         |




                            Wire Instructions:
                                                                                  Current Invoice Total
                            Comerica Bank
                            188 North Old Woodward
                            Birmingham, Ml 48009 USA
                            +1 (800) 643-4421 wire transfer dept.
                            Bank Routing # 072000096
                            Bank Acct #1851115376
                            SWIFT Code: MNBDUS33



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AmherstConsulting                                                                                                Amherst Consulting, LLC
                                                                                                                 255 E. Brown St., Ste 120
                                                                                                                    Birmingham, MI 48009



Customer:
Official UCC of Barfly Ventures, LLC                                                                                        Invoice
c/o Gordon Food Service, Inc.
1300 Gezon Parkway S.W.
                                                                                                            Invoice #:             41843
Wyoming, Ml 49509
Attn: Ms. Sharon Murphy                                                                                  Invoice Date:           8/3/2020
                                                                                                            Due Date:            8/3/2020


       Date          Category                Name                       Description                   Hours          Rate        Amount

   7/6/2020       Case Admin                    Searching Amherst computer database j
                                         Analyst - M...                                                   2.10         250.00      525.00
                                     I       |to identifying potential conflicts of      (
                             |                j interest (2.1 h)                         j
   7/6/2020       Case Admin j Partner-Sto... j read and respond to emails (.50)         j                0.50         400.00      200.00
   7/6/2020       Case Admin j MD-Morden j Review first draft letter in re Mastodon }                     2.10         350.00       735.00
                             !                j and Mastadon motion and compile key |
                             i                J points of Contention (1.9); review final {
                             j                j draft of Mastodon letter with input from j
                             {               |all UCC advisors and provide edits         j
                                                          (0.2)

   7/7/2020       Case Admin J Partner-Sto... j Read and respond to emails (.30);                         0.50         400.00       200.00
                              |               | Review Amherst Declaration (.20)
   7/7/2020       Asset Sales J Partner-Sto... j PC w/ J. Morden discussing sale of                       0.50         400.00       200.00
                                                 company (.50)
   7/7/2020       Case Admin MD-Morden           Call with S. Stone (0.5)                                 0.50         350.00       175.00 ]
   7/7/2020       Fin. Info.    MD-Morden J Review of UCC data room for updates                           0.10         350.00        35.00 |
                  Analysis                       (•1)
   7/7/2020       Committee ! MD-Morden          Committee call info prep (.2)                            0.20         350.00        70.00 i
                  Mtg /       ]                I
                  Communicati \                I
                  on
   7/8/2020       Case Admin |Partner-Sto... Read and review emails (.50)                                 0.50          400.00      200.00
   7/8/2020       Committee   (Partner-Sto... PC w/ M. Brandess (.30)                                     0.30          400.00      120.00
                  Mtg/
                  Communicati
                  on
   7/8/2020       Case Admin Partner-Sto... PC w/ P. Hage (.20)                                           0.20          400.00       80.00
   7/8/2020       Asset Sales   Partner-Sto... Review Mastodon waterfall (.40)                            0.40          400.00      160.00
   7/9/2020       Asset Sales   Partner-Sto... PC w/ J. Morden (.20); review sale                         0.70          400.00      280.00
                                                 procedures (.50)
   7/9/2020       Asset Sales   MD-Morden        Review of bid procedures (0.3), review                   1.40          350.00      490.00
                                                 of APA and email on initial findings to
                                                 SFGH (1.1)

   7/9/2020        Case Admin (MD-Morden                  Strategy calls with S. Stone (.2) and M.        0.50          350.00      175.00
                                                          Brandess (.3)
   7/9/2020        Fin. Info.            MD-Morden        email to Rock Creek (0.2)                       0.20          350.00       70.00
                   Analysis

                                Wire Instructions:
                                Comerica Bank
                                                                                        Current Invoice Total
                                188 North Old Woodward
                                Birmingham, MI 48009 USA
                                +1 (800) 643-4421 wire transfer dept.
                                Bank Routing # 072000096
                                Bank Acct #1851115376
                                SWIFT Code: MNBDUS33



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AmherstConsulting                                                                                            Amherst Consulting, LLC
                                                                                                             255 E. Brown St., Ste 120
                                                                                                                Birmingham, Ml 48009



Customer:
Official UCC of Barfly Ventures, LLC                                                                                    Invoice
c/o Gordon Food Service, Inc.
1300 Gezon Parkway S.VV.
                                                                                                        Invoice #:                    41843
Wyoming, Ml 49509
Attn: Ms. Sharon Murphy                                                                              Invoice Date:                  8/3/2020
                                                                                                        Due Date:                   8/3/2020


       Date         Category             Name                          Description                Hours          Rate               Amount

   7/9/2020       Committee     S MD-Morden         UCC call (0.5)                                    0.50         350.00             175!00 |
                 | Mtg /        j               |
                  Communicati
                  on
  |7/10/2020      Case Admin \ Analyst - M... Create list of all professionals engaged                0.30         250.00              75.00
                                {                j on the case (0.3 h)
   7/10/2020      Committee     } Partner-Sto... PC w/ M. Brandess (.30)                              0.30         400.00             120.00
                   Mtg/
                  Communicati
                  on
   7/10/2020       CF/Liquidity   Partner-Sto... PC w/ J. Morden (.20)                                0.20         400.00              80.00
   7/12/2020       CF/Liquidity   Analyst - M... Analysis of Debtors' filed schedules of              1.00         250.00             250.00
                                                 f assets and liabilities (1 h)
   7/12/2020       CF/Liquidity   Partner-Sto... j Review summary of schedules and                    0.30         400.00             120.00 i
                                                    craft email with review findings (.30)
   7/13/2020       CF/Liquidity   Partner-Sto... Review debtor schedules (1.0); CC w/                 1.60         400.00             640.00
                                                    Debtor Professionals (.6);
   7/13/2020       Committee      Partner-Sto... PC w/ M. Brandess (.1); CC w/ J.                     0.40         400.00             160.00
                   Mtg/                           j Morden, M. Brandess (.3)
                   Communicati
                   on
   7/13/2020       Asset Sales    MD-Morden J Review of APA commentary (0.2)               j          0.20         350.00              70.00
   7/13/2020       Fin. Info.     MD-Morden J Review of statements and schedules |                    3.00         350.00           1,050.00
                   Analysis                       j including creation of asset list and   {
                                                  I summarizing initial findings (3.0)     j
   7/13/2020       CF/Liquidity \ MD-Morden j Review of cash flow (.3)                     j          0.30         350.00             105.00 |
   7/13/2020       Case Admin j MD-Morden j Call with Debtor advisors and follow-up j                 0.90         350.00             315.00 |
                                |                 j with S. Stone & M. Brandess (0.9)      {
   7/14/2020       CF/Liquidity |Analyst - M... j Analysis of Debtors' filed schedules of {           1.00         250.00             250.00
                                |                 j assets and liabilities (1 h)           |

   7/14/2020      Fin. Info.          Analyst - M... j Analysis of Debtors' P6 financials (2.6        2.60          250.00            650.00
                  Analysis                             h)
  j 7/14/2020     Case Admin        I Partner-Sto... j Review and respond to emails (.50)             0.50         400.00             200.00
  i 7/14/2020     Case Admin        I MD-Morden j Call with M. Brandess (.2), call with E.            0.30         350.00             105.00
                                                     j Morandi (.1)
   7/14/2020      Fin. Info.          MD-Morden li Review of S&S and P&L files (2.5)                  2.50          350.00            875.00
                  Analysis
                                                                                                                             ....


                               Wire Instructions:
                               Comerica Bank
                                                                                     Current Invoice Total
                               188 North Old Woodward
                               Birmingham, Ml 48009 USA
                               +1 (800) 643-4421 wire transfer dept.
                               Bank Routing # 072000096
                               Bank Acct #1851115376
                               SWIFT Code: MNBDUS33



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AmherstConsulting                                                                                            Amherst Consulting, LLC
                                                                                                             255 E. Brown St., Ste 120
                                                                                                                Birmingham, Ml 48009



Customer:
Official UCC of Barfly Ventures, LLC                                                                                    Invoice
c/o Gordon Food Service, Inc.
1300 Gezon Parkway S.W.
Wyoming, Ml 49509                                                                                       Invoice #:             41843
Attn: Ms. Sharon Murphy                                                                              Invoice Date:           8/3/2020
                                                                                                        Due Date:            8/3/2020


       Date         Category              Name                         Description               Hours           Rate        Amount

   7/14/2020      Committee      MD-Morden   Prep for and attend UCC call (0.8)                      0.80          350.00      280.00
                  Mtg /        |           |
                  Communicati I            j
                  on
   7/14/2020      CF/Liquidity j MD-Morden \ Deep dive on cash plus variance build                   1.60          350.00      560.00
                                                      (1.6)
   7/15/2020      Fin. Info,         Analyst - M... J Analysis of Debtors' P6 financials (1.8        3.80          250.00      950.00
                  Analysis                          } h), Contractor Employee Agreement
                                                    j payment schedule (2 h)
   7/15/2020      Case Admin         Partner-Sto... j emails (1.0)                                   1.00          400.00      400.00
   7/15/2020      CF/Liquidity       Partner-Sto... j PC w/ J, Morden (.3); review new               1.30          400.00      520.00
                                                    j schedules provided by Debtor (1.0)
   7/15/2020      Committee          Partner-Sto... jCC w/ J. Morden, M. Brandess (.3); PC           0.70          400.00      280.00
                  Mtg/                              j w/ M. Brandess (.4)
                  Communicati
                  on
   7/15/2020      Fin. Info.  |MD-Morden         Review of consolidated P&L and email                3.70          350.00     1,295.00
                  Analysis                       to RC (1.0), calls with EM (0.3) on
                                                 P&L, consolidated financials
                                                 reconciliation (0.4), cure cost review
                                                 (0.3), finalize net income TTM build
                                                 (1.7)
   7/15/2020      CF/Liquidity I MD-Morden       Cash flow review and adjustment for                 0.40          350.00      140.00
                               (                 lender call (.4)
   7/15/2020      Case Admin j MD-Morden         Case strategy call with S. Stone and                1.70          350.00      595.00
                               {                 M. Brandess (0.5), additional calls with
                               {                 M. Brandess on case (0.4), call with
                               j                 lender and counsel (0.8) on misc case
                               I                 items
   7/16/2020      Fin. Info.   {Analyst - M... i Cure Analysis summary (3.5 h)                       3.50          250.00      875.00
                  Analysis     j
   7/16/2020      Case Admin J Partner-Sto... Review and respond to emails (.6)                      0.60          400.00       240.00
   7/16/2020      Committee    j Partner-Sto... PC w/ M. Brandess (.20)                              0.20          400.00        80.00
                  Mtg/
                  Communicati
                  on
   7/16/2020      CF/Liquidity |Partner-Sto... PC's w/ J. Morden (2) (.50)                           0.50          400.00       200.00



                               Wire Instructions:
                               Comerica Bank                                         Current Invoice Total
                               188 North Old Woodward
                               Birmingham, Ml 48009 USA
                               +1 (800) 643-4421 wire transfer dept.
                               Bank Routing # 072000096
                               Bank Acct #1851115376
                               SWIFT Code: MNBDUS33



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AmlierstConsulting                                                                                          Amherst Consulting, LLC
                                                                                                            255 E. Brown St., Ste 120
                                                                                                               Birmingham, Ml 48009



Customer:
Official UCC of Barfly Ventures, LLC                                                                                   Invoice
c/o Gordon Food Service, Inc.
1300 Gezon Parkway S.W.
Wyoming, Ml 49509                                                                                      Invoice #:              41843
Attn: Ms. Sharon Murphy                                                                             Invoice Date:           8/3/2020
                                                                                                       Due Date:            8/3/2020


       Date         Category           Name                        Description                   Hours          Rate        Amount
   7/16/2020     - Committee      MD-Morden       Call with D. DeKock on store                       0.30         350.00      losloo 1
                 |Mtg /                          {performance (.3)
                 !! Communicati
                    on
   7/16/2020        Case Admin (MD-Morden          Case review call with S. Stone (.2)    J          0.20         350.00       70.00
   7/16/2020        Fin. Info,  |MD-Morden         Call with E. Morandi on cure costs and |         1.40          350.00      490.00
                    Analysis    j                  case status (0.3), cure cost review    {
                                                   (0.2), review Rock Creek files and     j
                                                   create info request information (0.9)  j
   7/17/2020      Fin. Info.      Analyst - M... } Cure summary analysis (.8 h)           j          0.80         250.00      200.00
                  Analysis
   7/17/2020      CF/Liquidity    Analyst - M... | UCC Cash Flow Review phone call         j         0.50         250.00      125.00
                                                  j with Rock Creek (.5 h)                 j
   7/17/2020      Committee       Partner-Sto... j CC with committee Council discussion {            0.50         400.00      200.00
                  Mtg/                              reservation of rights draft, 341       (
                  Communicati                       hearing(.40); PC w/ M. Brandess re:    |
                  on                                liquor licenses.(.10)                  (
   7/17/2020      Case Admin |Partner-Sto... {Review of reservation of rights draft        |        1.10          400.00      440.00
                               |                  j (.50); PC w/ J. Morden re: reservation J
                               |                 J of rights draft (.10), read and respond I
                                j                i to emails(.50)                          |
   7/17/2020      Fin. Info.   | MD-Morden j P&L review (0.2)                              j         0.20         350.00        70.00 i
                  Analysis     i                  j                                        j
   7/17/2020      Asset Sales j MD-Morden | Review redline APA and ROR letter              j         0.90         350.00      315.00
                               f                 i (0.8), review updated ROR (0.1)         j
   7/17/2020      Case Admin j MD-Morden | UCC advisor strategy and update call j                    0.70         350.00      245.00
                               I                    (0.5), call with E. Morandi on case    j
                               j                 | status (0.2)                            |
   7/17/2020      CF/Liquidity {MD-Morden ! Cash flow review and manipulation              j        1.10          350.00      385.00
                               |                 | (0,6), call with Rock Creek on cash     j
                               I                  j flow (0.5)                             j
   7/18/2020      Case Admin 1 Partner-Sto... j review and send emails (.2)                f         0.20         400.00       80.00 j
   7/18/2020      Asset Sales j Partner-Sto... j Review fixed assets schedules (.5)         j        0.50         400.00      200.00    j
   7/20/2020      Case Admin j Partner-Sto... j Review emails (.20)                        |         0.20         400.00       80.00 |
   7/20/2020      Case Admin f MD-Morden J Review of case summary emails and               }         0.20         350.00        70.00   I
                                                 j email to D. DeKock (0.2)                j
   7/20/2020      Fin. Info.      MD-Morden j Data room review and info request            j         0.40         350.00      140.00
                  Analysis                       |email (0.4)                              \


                           Wire Instructions:
                           Comerica Bank                                         Current Invoice Total
                           188 North Old Woodward
                           Birmingham, Ml 48009 USA
                           +1 (800) 643-4421 wire transfer dept.
                           Bank Routing # 072000096
                           Bank Acct #1851115376
                           SWIFT Code: MNBDUS33



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 AmherstConsulting                                                                                             Amherst Consulting, LLC
                                                                                                              255 E. Brown St., Ste 120
                                                                                                                 Birmingham, Ml 48009



Customer:
Official UCC of Barfly Ventures, LLC                                                                                     Invoice
c/o Gordon Food Service, Inc.
1300 Gezon Parkway S.W.
Wyoming, Ml 49509                                                                                        Invoice #:             41843
Attn: Ms. Sharon Murphy                                                                               Invoice Date:           8/3/2020
                                                                                                         Due Date:            8/3/2020


       Date          Category             Name                          Description                Hours          Rate        Amount

  f 7/21/2020     Asset Sales         Analyst - M...  Rent Summary by Entity and Lessor               1.30          250.00      325.00
                                                    , (1-3 h)
   7/21/2020      Case Admin          Partner-Sto... Review and respond to emails (.50);               0.50         400.00      200.00
   7/21/2020      Committee           Partner-Sto... PC w/ M. Brandess (.10)                           0.10         400.00        40.00
                  Mtg /
                  Communicati
                  on
   7/21/2020      CF/Liquidity j Partner-Sto... Review TWCF (.30); PC w/ J. Morden                     0.50         400.00       200.00
                                                        (.20)
   7/21/2020     | Fin. Info.         MD-Morden           Data room added items review and             0.90         350.00       315.00
                 |Analysis                                info request (0.2), review of CIM and
                                                       | teaser data and 2020 projections (0.7)
   7/21/2020      j CF/Liquidity j MD-Morden              Cash flow review/testing/info request        1.60         350.00       560.00
                  j              \                        and review of cure items (1.6)
   7/21/2020     J Case Admin i MD-Morden                 Case calls with S. Stone (0.2), M.           0.60         350.00       210.00
                  j              }                      j Brandess (0.2), additional with S.
                 J               j                      j Stone (0.2)
   7/21/2020     I Committee     ; MD-Morden           I Prep for and attend UCC call (0.8)            0.80         350.00       280.00 j
                 | Mtg /          j                    |
                 ; Communicati i;                 j
                    on
   7/22/2020     I Case Admin (Partner-Sto... j Review and respond to emails (.30);                    0.50         400.00       200.00
                  j              j               Ij Review Amherst Declaration (.20)
   7/24/2020     {Asset Sales J MD-Morden j Call with Mastodon on sale process                         0.40         350.00       140.00
                                                    (-4)
   7/27/2020      j CF/Liquidity j MD-Morden j Cash flow review and cash flow                          1.40         350.00       490.00
                 I               |                j information request (1.4)
   7/28/2020     ! Committee {Partner-Sto... I PC w/ J. Morden (.20); Committee Call                   0.701        400.00       280.00 |
                 | Mtg /         '               ' (.50)
                 f Communicati
                    on
   7/28/2020        Case Admin j Partner-Sto... j Review and respond to emails (.50)                   0.50         400.00       200.00
   7/28/2020        Case Admin |MD-Morden j Call with SS (0.1)                                         0.10         350.00        35.00
   7/28/2020        Committee    t MD-Morden I UCC call (0.5)                                          0.50         350.00       175.00
                    Mtg /        ]               (
                    Communicati J                f
                    on
   7/29/2020        Case Admin j Partner-Sto... i Review objection (.20)                               0.20         400.00        80.00
   7/31/2020        Asset Sales ! Partner-Sto... i CC w/ Mastodon (.50)                                0.50         400.00.      200.00

                                Wire Instructions:
                                Comerica Bank                                         Current Invoice Total
                                188 North Old Woodward
                                Birmingham, Ml 48009 USA
                                +1 (800) 643-4421 wire transfer dept.
                                Bank Routing # 072000096
                                Bank Acct #1851115376
                                SWIFT Code: MNBDUS33



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 AmherstConsulting                                                                                        Amherst Consulting, LLC
                                                                                                          255 E. Brown St., Ste 120
                                                                                                             Birmingham, Ml 48009



Customer:
Official UCC of Barfly Ventures, LLC                                                                                 Invoice
c/o Gordon Food Service, Inc.
1300 Gezon Parkway S.W.
Wyoming, Ml 49509                                                                                    Invoice #:               41843
Attn: Ms. Sharon Murphy                                                                           Invoice Date:             8/3/2020
                                                                                                     Due Date:              8/3/2020


        Date          Category         Name                         Description                Hours          Rate         Amount

   7/31/2020        Fin. Info,     MD-Morden       Review of POS and flash sale reports   j        0.20         350.00'        70.00
                    Analysis                       (0.2)
   7/31/2020        CF/Liquidity | MD-Morden       Cash flow update review (0.7)                   0.70         350.00        245.00




Make Checks Payable to:     Wire Instructions:
Amherst Consulting, LLC     Comerica Bank
                                                                                  Current Invoice Total                  $25,935.00
255 E Brown St., Ste. 120   188 North Old Woodward
Birmingham, Ml 48009        Birmingham, Ml 48009 USA
                            +1 (800) 643-4421 wire transfer dept.
                            Bank Routing # 072000096
                            Bank Acct #1851115376
                            SWIFT Code: MNBDUS33




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 AmherstConsulting                                                                                          Amherst Consulting, LLC
                                                                                                            255 E. Brown St., Ste 120
                                                                                                               Birmingham, Ml 48009



Customer:
Official UCC of Barfly Ventures, LLC                                                                                   Invoice
c/o Gordon Food Service, Inc.
1300 Gezon Parkway S.W.
Wyoming, Ml 49509                                                                                       Invoice #:             41830
Attn: Ms. Sharon Murphy                                                                              Invoice Date:          7/15/2020
                                                                                                        Due Date:           7/15/2020


        Date          Category          Name                         Description                 Hours          Rate         Amount

                                                     Foi Professional Services rendered      j                                          '"1


                                                    I through June 30, 2020 - see detail     j
                                                   I below.                                  i

   6/29/2020        Committee      Partner-Sto... j PC w/ J. Miller re: Committee call (.1),         1.10         400.00       440.00
                    Mtg /                         | PC w/ M. Brandess re: Committee call
                    Communicati                      (.1), CC w/ Committee (.5), Review
                    on                               Committee Notes (.3), PC w/ J.
                                                     Morden re: Committee call (.1).
   6/29/2020        Case Admin {MD-Morden            Review of Mastodon engagement letter            1.10         350.00       385.00
                                                     and commentary on potential objection
                                                     (1.0), Call with SS and info request
                                                     prep (0.1)
   6/30/2020        Case Admin J Analyst - M... f Go forward internal Amherst team                   0.30         250.00        75.00
                                 |                | meeting
   6/30/2020        Case Admin j Analyst - M... j Kickoff call with Rock Creek                       0.20         250.00        50.00
   6/30/2020        Case Admin j Analyst - M... f Created and populated conflict                     0.70         250.00       175.00
                                 j                j summary table file
   6/30/2020        Case Admin I Partner-Sto... CC w/ J. Morden, E. Morandi to                       1.10         400.00       440.00
                                                   ! discuss process (.3); CC with Rock
                                                   ! Creek professionals; (.3); Draft
                                                  j engagement letter (.5)
   6/30/2020        CF/Liquidity Partner-Sto... j Review TWCF (.3)                                   0.30         400.00       120.00
   6/30/2020        Committee      Partner-Sto... j PC w/ M. Brandess to discuss next                0.10         400.00        40.00
                    Mtg/                          j steps (.1)
                    Communicati
                    on
   6/30/2020        CF/Liquidity IMD-Morden ! review of cash flow summary (0.6)              j       0.60         350.00       210.00
   6/30/2020        Case Admin j MD-Morden J Request list email (0.2), cc with SS            I       0.90         350.00       315.00
                                 |                j and EM regarding opening steps of        \
                                 j                | case (0.3), introductory call with Rock (
                                 i                S Creek (0.3), further mark-up request     I
                                 t                j list (0.1)                               |




Make Checks Payable to:      Wire Instructions:
Amherst Consulting, LLC      Comerica Bank                                         Current Invoice Total                   $2,250.00
255 E Brown St., Ste. 120    188 North Old Woodward
Birmingham, Ml 48009         Birmingham, Ml 48009 USA
                             +1 (800) 643-4421 wire transfer dept.
                             Bank Routing # 072000096
                             Bank Acct #1851115376
                             SWIFT Code: MNBDUS33
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                          Exhibit B
                (August Monthly Fee Statement)
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN

In re:
                                                       Chapter 11
 BARFLY VENTURES, LLC, et al,                          Case No. 20-01947-jwb

             Debtors.                                  (Jointly Administered)



      MONTHLY FEE STATEMENT OF AMHERST CONSULTING, LLC FOR
 COMPENSATION FOR SERVICES RENDERED & REIMBURSEMENT OF EXPENSES
   AS FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED
                     CREDITORS FOR AUGUST 2020


 Name of Applicant:                           Amherst Consulting, LLC

 Authorized to provide services to:            Official Committee of Unsecured Creditors

 Effective Date of Retention:                 August 10, 2020 (retroactive to June 25)

 Period for which compensation is sought:     August 2020
 Amount of compensation sought as actual,     $5,485.00
 reasonable, and necessary:                   80% = $4,388.00
                                              20% = $1,097.00

 Amount of expense reimbursement sought:       $0.00

 Total interim request:                        $4,388.00



1 The Debtors are: Barfly Ventures, LLC, (8379), Barfly Management, LLC (6274), 9 Volt, LLC

(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC,
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat- GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat-KC, LLC and
TikiCat)(6242), HopCat Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat- Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat- Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House LLC and McFadden's Restaurant
Saloon) (4255).



4958880.vl
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                                     Respectfully submitted by,

                                     JAFFE RAIT HEUER & WEISS, P.C.

                                     By:    /s/ Paul R. Hage
                                     Paul R. Hage (P70460)
                                     27777 Franklin Road, Suite 2500
                                     Southfield, MI 48034
                                     Phone: (248) 351-3000
                                     phage@i affelaw.com

                                     -and-

                                     SUGAR FELSENTHAL GRAIS &
                                     HELSINGER, LLP

                                     Michael A. Brandess
                                     Elizabeth Vandesteeg
                                     30 N. LaSalle Street, Suite 3000
                                     Chicago, IL 60602
                                     Phone: (312) 704-9400
                                     mbradness@sfgh.com
                                     evandesteegffisfgh.com

                                     Counsel for the Official Committee of Unsecured
                                     Creditors of Barfly Ventures, LLC

Dated: September 14, 2020.
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AmherstConsulting                                                                                        Amherst Consulting, LLC
                                                                                                         255 E. Brown St., Ste 120
                                                                                                            Birmingham, Ml 48009



Customer:
Official UCC of Barfly Ventures, LLC                                                                                Invoice
c/o Gordon Food Service, Inc.
1300 Gezon Parkway S.VV.
Wyoming, Ml 49509                                                                                   Invoice #:              41863
Attn: Ms. Sharon Murphy                                                                          Invoice Date:           9/8/2020
                                                                                                    Due Date:            9/8/2020


       Date         Category           Name                        Description               Hours           Rate        Amount

   8/1/2020       CF / Liquidity ? Partner-Sto... Review Committee's response to                 0.30          400.00      120.00    1
                                                     FSB's PPP objections (.30)
   8/3/2020       Asset Sales      Partner-Sto... j Review Mastodon information                  0.20          400.00       80.00 |
   8/3/2020       Committee        Partner-Sto... j Phone call with M. Brandess                  0.20          400.00       80.00 !
                  Mtg /
                  Communicati
                  on
   8/3/2020       Case Admin ; MD-Morden {Call with M. Brandess on case steps                    0.20          350.00       70.00 j
                                 j                   (0.1), review of FSB filed docs (0.2)
   8/3/2020       CF / Liquidity | MD-Morden ! Review of cash flow file from Rock                0.20          350.00       70.00
                                                   j Creek
   8/3/2020       Fin. Info.       MD-Morden | Follow ups with debtor on PPP usage               0.10          350.00       35.00
                  Analysis                           (0.1)
   8/3/2020       Retention /    j MD-Morden | Prep of July statement                            0.50          350.00      175.00
                  Fee            (                |
                  Applications j                  |
   8/4/2020       Case Admin j Partner-Sto... j Read and respond to emails                       0.50          400.00      200.00
   8/4/2020       Committee      j Partner-Sto... j Committee call                               0.50          400.00      200.00
                  Mtg/
                  Communicati
                  on
   8/4/2020       Case Admin j MD-Morden | Review liquor license emails                          0.10          350.00       35.00
   8/4/2020       CF / Liquidity | MD-Morden I Review cash flow info from Rock Creek             0.20          350.00       70.00
                                                     and analyze cash/respond to same
   8/4/2020       Retention / | MD-Morden            Call with P. Hague on fee apps (0.2),       1.30          350.00      455.00
                  Fee            |                   revise June/July bills (1.0)
                  Applications |
   8/5/2020       Committee      I Partner-Sto... t Review Amherst fee application               0.20          400.00       80.00
                  Mtg /          |                 j
                  Communicati j                   |
                  on
   8/5/2020       Case Admin | MD-Morden             Review committee strategy emails            0.20          350.00       70.00
   8/5/2020       CF / Liquidity | MD-Morden         Latest cash flow file review                0.10          350.00       35.00
   8/6/2020       Asset Sales j Partner-Sto... Review Mastodon information                       0.30          400.00      120.00
   8/6/2020       CF / Liquidity I MD-Morden         Cash flow review                            0.20          350.00       70.00
   8/7/2020       CF / Liquidity j Partner-Sto... Review cash flow                               0.20          400.00       80.00
   8/7/2020       CF / Liquidity ! MD-Morden         Review of latest cash flow and              0.50          350.00      175.00
                                                     questions to Rock Creek on same

                           Wire Instructions:
                           Comerica Bank
                                                                                 Current Invoice Total
                           188 North Old Woodward
                           Birmingham, Ml 48009 USA
                           +1 (800) 643-4421 wire transfer dept.
                           Bank Routing # 072000096
                           Bank Acct #1851115376
                           SWIFT Code: MNBDUS33




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 AmherstConsulting                                                                                         Amherst Consulting, LLC
                                                                                                           255 E. Brown St., Ste 120
                                                                                                              Birmingham, Ml 48009



Customer:
Official UCC of Barfly Ventures, LLC                                                                                  Invoice
do Gordon Food Service, Inc.
1300 Gezon Parkway S.W.
Wyoming, Ml 49509                                                                                     Invoice #:               41863
Attn: Ms. Sharon Murphy                                                                            Invoice Date:            9/8/2020
                                                                                                      Due Date:             9/8/2020


          Date        Category          Name                         Description               Hours           Rate         Amount

  (8/10/2020        Retention /      MD-Morden        Prep fee data                                0.20          350.00        70.00
                    Fee
                    Applications
   8/11/2020        Committee        Partner-Sto... j Review applications                          0.50          400.00       200.00
                    Mtg /
                    Communicati
                    on
  1 8   /12/2020    Case Admin j Partner-Sto... ) Classify June and July 2020 labor                0.50          400.00       200.00
                                   |                ! categories for invoicing purposes
  i 8/12/2020       Case Admin i MD-Morden ! Review case email and call with M.                    0.30          350.00       105.00
                                                      Brandess on case status
   8/14/2020        Asset Sales      Partner-Sto... j CC w/Mastodon                                0.30          400.00       120.00 I
   8/14/2020        Committee I Partner-Sto... i Review Bar Date motio                             0.20          400.00        80.00 |
                    Mtg/
                    Communicati j
                    on
   8/18/2020        Committee ! Partner-Sto... I Weekly Committee call                             0.50          400.00       200.00
                    Mtg /          j                j
                    Communicati {                   |                                      ,
                    on
   8/18/2020        Asset Sales [ MD-Morden | Review Mastadon sales process email j                0.20          350.00        70.00
                                   I                I and supporting files                 (
    8/19/2020       Asset Sales | Partner-Sto... I CC with Mastodon                        |       0.50          400.00       200.00 I
  | 8/19/2020       Case Admin | Partner-Sto... j Review and respond to emails             j       0.30          400.00       120.00 j
    8/21/2020       Asset Sales j Partner-Sto... {CC w/ Mastodon/Brandess                  j       0.50          400.00       200.00 !
  ! 8/21/2020       CF / Liquidity j Partner-Sto... j Review two weeks of cash flow        |       1.00          400.00       400.00 |
  | 8/25/2020       Asset Sales j MD-Morden j Review of sales process updates              |       0.10          350.00        35.00 |
  I 8/26/2020       Case Admin j Partner-Sto... j Review emails                            j       0.20          400.00        80.00 |
  i 8/27/2020       CF / Liquidity j Partner-Sto... J Review TWCF                          |       0.50          400.00       200.00 |
  I 8/27/2020       CF / Liquidity | MD-Morden j Review, variance analysis, and info       |       0.70          350.00       245.00 I
                                   j                {request for updated cash flow from RC j
  ! 8/28/2020       Asset Sales j Partner-Sto... j CCw/ Mastodon; PC w/ M. Brandess        I       0.70          400.00       280.00
    8/31/2020       Asset Sales j Partner-Sto... j Review sales matrix                     j       0.20          400.00        80.00
  ! 8/31/2020       Asset Sales ! Partner-Sto... {PC's (2) w/ J. Morden                    j       0.30          400.00       120.00
    8/31/2020       Asset Sales j Partner-Sto... j PC w/ M. Brandess                       |       0.30          400.00       120.00 |
  18/31/2020        Asset Sales ! MD-Morden ! Call with S. Stone (0.2) on asset sale, |            0.40          350.00       140.00 |
                                   !                i asset sale file review               I


Make Checks Payable to:      Wire Instructions:
Amherst Consulting, LLC      Comerica Bank                                         Current Invoice Total                  $5,485.00
255 E Brown St., Ste. 120    188 North Old Woodward
Birmingham, Ml 48009         Birmingham, Ml 48009 USA
                             +1 (800) 643-4421 wire transfer dept.
                             Bank Routing # 072000096
                             Bank Acct #1851115376
                             SWIFT Code: MNBDUS33




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                          Exhibit C
              (September Monthly Fee Statement)
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN

 In re:
                                                       Chapter 11
 BARFLY VENTURES, LLC, et. al. i                       Case No. 20-01947-jwb

             Debtors.                                  (Jointly Administered)



      MONTHLY FEE STATEMENT OF AMHERST CONSULTING, LLC FOR
 COMPENSATION FOR SERVICES RENDERED & REIMBURSEMENT OF EXPENSES
   AS FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED
                   CREDITORS FOR SEPTEMBER 2020


 Name of Applicant:                            Amherst Consulting, LLC
 Authorized to provide services to:            Official Committee of Unsecured Creditors
 Effective Date of Retention:                  August 10, 2020 (retroactive to June 25)
 Period for which compensation is sought:      September 2020
 Amount of compensation sought as actual,      $17,640.00
 reasonable, and necessary:                    80% = $14,112.00
                                               20% = $3,528.00

 Amount of expense reimbursement sought:       $0.00

 Total interim request:                        $14,112.00



1 The Debtors are: Barfly Ventures, LLC, (8379), Barfly Management, LLC (6274), 9 Volt, LLC

(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC,
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat- GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat-KC, LLC and
TikiCat)(6242), HopCat Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat- Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat- Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House LLC and McFadden's Restaurant
Saloon) (4255).



4989189.vl
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                                     Respectfully submitted by,

                                     JAFFE RAIT HEUER & WEISS, P.C.

                                     By;    /s/ Paul R. Hage
                                     Paul R. Hage (P70460)
                                     27777 Franklin Road, Suite 2500
                                     Southfield, MI 48034
                                     Phone: (248) 351-3000
                                     phage(a)i affelaw.com

                                     -and-

                                     SUGAR FELSENTHAL GRAIS &
                                     HELSINGER, LLP

                                     Michael A. Brandess
                                     Elizabeth Vandesteeg
                                     30 N. LaSalle Street, Suite 3000
                                     Chicago, IL 60602
                                     Phone: (312) 704-9400
                                     mbradness@sfgh.com
                                     evandesteeg@sfgh.com

                                     Counsel for the Official Committee of Unsecured
                                     Creditors of Barfly Ventures, LLC

Dated: October 7, 2020.
                    Case:20-01947-jwb               Doc #:411 Filed: 12/02/2020                Page 31 of 41


AmherstConsulting                                                                                         Amherst Consulting, LLC
                                                                                                          255 E. Brown St., Ste 120
                                                                                                             Birmingham, Ml 48009



Customer:
Official UCC of Barfly Ventures, LLC                                                                                 Invoice
c/o Gordon Food Service, Inc.
1300 Gezon Parkway S.W.
Wyoming, Ml 49509                                                                                     Invoice #:            41884
Attn: Ms. Sharon Murphy                                                                            Invoice Date:         10/1/2020
                                                                                                      Due Date:          10/1/2020


           Date      Category          Name                         Description                Hours          Rate        Amount

       9/1/2020    Case Admin        Partner-Sto... i Read and respond to emails                   0.30         400.00      120.00 I
       9/1/2020    Asset Sales       MD-Morden         Review asset sale email and follow-up       0.50         350.00      175.00 |
                                                       call with M. Brandess and Mastodon
                                                       on sale
       9/1/2020    Cash Flow / i MD-Morden             Info request regarding CF to Rock           0.10         350.00        35.00
  i;               Liquidity      \                    Creek
       9/1/2020    Committee      | MD-Morden          Prep for and attend UCC call and            0.70         350.00      245.00
                   Mtg/Commun j                        provide meeting update e-mail to S.
                   ications       (                    Stone
       9/2/2020    Case Admin Partner-Sto... Read and respond to emails                            0.30         400.00      120.00
       9/2/2020    Case Admin j MD-Morden              Call with M. Brandess and E. Morandi        0.80         350.00      280.00
                                                       on request for financial info for
                                                       committee (0.4), call with E. Morandi
                                                       on next steps to meet committee
                                                       requests (0.4)
  ! 9/2/2020       Cash Flow / | MD-Morden | Review PPP funds use                                  0.20         350.00        70.00
                   Liquidity      |                  j
  | 9/3/2020       Financial Info f Partner-Sto... {PC w/ J. Morden                                0.20         400.00        80.00
                   Analysis       [                 I
  i 9/3/2020       Committee      [ Analyst - M... t calls with James Morden and Counsel;          0.40         250.00      100.00
                   Mtg/Commun j                        Email to Rock Creek (0.4)
                   ications        j
       9/3/2020    Case Admin | MD-Morden j Call with S. Stone on case strategy                    0.20         350.00        70.00
       9/8/2020    Case Admin j Partner-Sto... j Review and approve August 2020                    0.20         400.00        80.00 !
                                                       billings
  )
       9/8/2020    Committee         Partner-Sto... ! Committee conference call                    0.60         400.00      240.00
                   Mtg/Commun
                   ications
       9/8/2020    Case Admin MD-Morden ( Review info request e-mail and write E.                  0.10         350.00        35.00
                                                       Morandi on next steps.
       9/9/2020    Committee      | Analyst - M... (Discussion with Rock Creek (0.4);              0.60         250.00       150.00
                   Mtg/Commun j                      j Consolidation of Notes, email and
                   ications       )j                 j distribute to team (0.2)
       9/10/2020   Asset Sales |I Partner-Sto... | CC w/ P. Hague, M. Brandess; PC w/              1.00         400.00       400.00 I
                                  I                 | M. Brandess CC w/ Mastodon, M.
                                  |                 i Brandess, P. Hague, Debtor attorney
       9/10/2020   Committee       j Partner-Sto... j CC w/ Committee;                             2.00         400.00       800.00
                   Mtg/Commun I                      ^
                   ications       i                  i



                            Wire Instructions:
                            Comerica Bank
                                                                                  Current Invoice Total
                            188 North Old Woodward
                            Birmingham, Ml 48009 USA
                            +1 (800) 643-4421 wire transfer dept.
                            Bank Routing # 072000096
                            Bank Acct #1851115376
                            SWIFT Code: MNBDUS33




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AmherstConsulting                                                                                            Amherst Consulting, LLC
                                                                                                             255 E. Brown St., Ste 120
                                                                                                                Birmingham, Ml 48009



Customer:
Official UCC of Barfly Ventures, LLC                                                                                    Invoice
c/o Gordon Food Service, Inc.
1300 Gezon Parkway S.W.
Wyoming, Ml 49509                                                                                        Invoice #:            41884
Attn: Ms. Sharon Murphy                                                                               Invoice Date:         10/1/2020
                                                                                                         Due Date:          10/1/2020


       Date         Category           Name                         Description                   Hours          Rate        Amount

  | 9/12/2020     Asset Sales        Partner-Sto... Read and respond to emails                        0.20         400.00       80.00
    9/12/2020     Committee      , Partner-Sto... ? Review and respond to email                       0.20         400.00       80.00 ]
                  Mtg/Commun j                       j
                  ications         j                I
  i 9/15/2020     Committee      [ Partner-Sto... I PC w/ J. Morden; emails                           0.30         400.00      120.00
                  Mtg/Commun j                      J
                  ications        j                 I
   9/15/2020      Case Admin | MD-Morden i Calls with S. Stone and E. Morandi on                      0.20         350.00       70.00
                                  t                  j case status
   9/15/2020      Cash Flow / {MD-Morden j Review of cash flow and claim issues                       0.90         350.00      315.00
                  Liquidity      ;                  f
   9/15/2020      Committee       j MD-Morden j UCC case status call                                  0.50         350.00      175.00
                  Mtg/Commun j                      }
                  ications       I                  j
    9/16/2020     Case Admin Analyst - M... call with JM (0.1)                                        0.10         250.00       25.00
  j 9/16/2020     Committee          Analyst - M... J Email to Rock Creek team on                     0.20         250.00       50.00
                  Mtg/Commun                           requested follow-up items from prior
                  ications                             week's call (0.2)
  ! 9/17/2020     Financial Info I Partner-Sto... PC w/ M. Brandess                                   0.20         400.00       80.00
                  Analysis
                                                                                              I
   9/18/2020      Committee          Partner-Sto... | CC w/ Committee; PC w/ M. Brandess; j           1.20         400.00      480.00
                  Mtg/Commun                        1  CC w/ Debtors professionals, P.        j
                  ications                             Hague, M. Brandess                     J
   9/18/2020      Asset Sales i MD-Morden              Call with debtor advisor and committee !       0.50         350.00      175.00 !
                                                       advisors on sale status and waterfall  I
   9/18/2020      Cash Flow / j MD-Morden j Review of revolver loan docs                              0.50         350.00      175.00
                  Liquidity       j                 |
  i 9/18/2020     Committee      ! Analyst - M... j Committee call (1.0)                              1.00         250.00      250.00
                  Mtg/Commun i                      i
                  ications       [                  j
   9/22/2020      Case Admin | Analyst - M... j Call with SS, JM, and Michael                         0.60         250.00      150.00
                                  j                 [ Brandess (Sugar) (0.6)
   9/22/2020      Asset Sales j MD-Morden } Evaluate financial projection model for |                 1.00         350.00      350.00
                                 |                  I revolver need                           |
   9/22/2020      Case Admin j MD-Morden i Calls with S. Stone and E. Morandi and j                   1.10         350.00      385.00
                                 !                  j follow-up information request           j
                                 j                  j development and review                  j
  j 9/22/2020     Cash Flow / i MD-Morden              Call with MC on dissolution, call with !       0.90         350.00      315.00 i
                  Liquidity      ;                     CM on PPP forgiveness                  |

                            Wire Instructions:
                            Comerica Bank                                          Current Invoice Total
                            188 North Old Woodward
                            Birmingham, Ml 48009 USA
                            +1 (800) 643-4421 wire transfer dept.
                            Bank Routing # 072000096
                            Bank Acct #1851115376
                            SWIFT Code: MNBDUS33




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AmherstConsulting                                                                                          Amherst Consulting, LLC
                                                                                                           255 E. Brown St., Ste 120
                                                                                                              Birmingham, Ml 48009



Customer:
Official UCC of Barfly Ventures, LLC                                                                                  Invoice
c/o Gordon Food Service, Inc.
1300 Gezon Parkway S.W.
Wyoming, Ml 49509                                                                                      Invoice #:              41884
Attn: Ms. Sharon Murphy                                                                             Invoice Date:          10/1/2020
                                                                                                       Due Date:           10/1/2020


       Date         Category           Name                         Description                 Hours          Rate        Amount
   9/23/2020      Committee        Partner-Sto... i Committee call; Review objections               1.00         400.00       400.00
                  Mtg/Commun ;                    |
                  ications       j                |
   9/25/2020      Asset Sales j Partner-Sto... j PC w/ J. Morden; PC w/ M. Brandess;                3.40         400.001    1,360.00
                              |                    j Hearing; emails
   9/25/2020      Asset Sales i MD-Morden | Call with P. Hage on asset sale filing                 10.00         350.001    3,500.00
                                                    j (0.1), Review asset sale order and
                                                      wind down budget (2.3), attend court
                                                   j hearing and mediation sessions (7.6)
   9/26/2020      Committee        Partner-Sto... j CC w/ UCC professionals; PC's (2) w/            1.80         400.00       720.00
                  Mtg/Commun                       j J. Morden; emails
                  ications
   9/26/2020      Case Admin i Analyst - M... j review, download, and distribute court              0.20         250.00        50.00
                              I                   (filings (0.2)
   9/26/2020      Asset Sales j MD-Morden j Call with legal team and S. Stone on                    1.90         350.00       665.00
                              |                   {sale order and objection (1.0),
                                j                 | follow-up call with S. Stone on sales
                                j                  j order objection (0.2), call with P.
                              I                    j Neitzel on sale order information
                              I                    j request (0.1), calls with M. Brandess
                              |                   | (0.3) and S. Stone (0.1) about sale
                              i                   [ order strategy and info requests, wind
                               j                   j down budget review (0.2)
   9/27/2020      Asset Sales | MD-Morden j Review Wind Down budget and                             4.20         350.00     1,470.00
                               j                 | identify potential risks (1Jh), call with
                              |                   | P. Neitzel and C. Pierce (1.0), call with
                               j                  } S. Stone on wind down budget (0.4),
                               j                  ) call with UCC counsel and S. Stone on
                              j                   j wind down budget exposure (1.1)
   9/27/2020      Cash Flow / j Partner-Sto... Review of term sheet: PC w/ J.                       2.10         400.00       840.00
                  Liquidity    j                      Morden; CC w/ UCC professionals;
                                                      emails
   9/28/2020      Asset Sales [ MD-Morden t Review of wind down budget (1.0), call                  2.60         350.00       910.00
                              |                   j with P. Neitzel on wind down budget
                              [                       (0.3), multiple brief calls with M.
                              [                   ; Brandess on wind down budget (0.3),
                              |                   ; complete draft wind down budget
                              I                       review and send to P. Neitzel (0.8),
                                                      emails on wind down budget (0.2)

                            Wire Instructions:
                            Comerica Bank                                          Current Invoice Total
                            188 North Old Woodward
                            Birmingham, Ml 48009 USA
                            +1 (800) 643-4421 wire transfer dept.
                            Bank Routing # 072000096
                            Bank Acct #1851115376
                            SWIFT Code: MNBDUS33




                                                                    Page 3
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 AmherstConsulting                                                                                              Amherst Consulting, LLC
                                                                                                                255 E. Brown St., Ste 120
                                                                                                                   Birmingham, Ml 48009



Customer:
Official UCC of Barfly Ventures, LLC                                                                                       Invoice
c/o Gordon Food Service, Inc.
1300 Gezon Parkway S.W.
Wyoming, Ml 49509                                                                                          Invoice #:                41884
Attn: Ms. Sharon Murphy                                                                                 Invoice Date:            10/1/2020
                                                                                                           Due Date:             10/1/2020


        Date            Category           Name                       Description                    Hours          Rate          Amount

   9/28/2020         Retention /    i    MD-Morden    Update fee application data                        0.50         350.00        175.00   1
                     Fee
                   | Applications   ;                j
   9/29/2020       I Asset Sales         MD-Morden   j Call with M. Brandess on wind down                1.70         350.00        595.00
                   |                i                | budget (0.1), call with Debtor and UCC
                    j               i                j advisors on wind down budget (1.1),
                   |                s                ! call with P. Neitzel to finalize wind
                                                       down budget (0.3), call with M.
                                                       Brandess to confirm agreement with
                                                       wind down budget and settlement offer
                                                      (0.2)
   9/29/2020       j Committee   j MD-Morden         j Attend portion of UCC update call                 0.20         350.00         70.00
                   j Mtg/Commun |
                   j ications     I
   9/29/2020       {Committee     I Partner-Sto... CC w/ Committee; Review term sheet;                   1.00         400.00        400.00
                   | Mtg/Commun j                  emails
                   | ications     |
   9/30/2020       j Retention /  (MD-Morden | Fee app data prep                                         0.60         350.00        210.00
                     Fee
                     Applications

                                    |
                                    ;!




                                    ;!
                                    I




                                                                                                ii




                                                                                                I




Make Checks Payable to:       Wire Instructions:
Amherst Consulting, LLC       Comerica Bank                                         Current Invoice Total                      $17,640.00
255 E Brown. St., Ste. 120    188 North Old Woodward
Birmingham, Ml 48009          Birmingham, Ml 48009 USA
                              +1 (800) 643-4421 wire transfer dept.
                              Bank Routing # 072000096
                              Bank Acct #1851115376
                              SWIFT Code: MNBDUS33




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                          Exhibit D
                (October Monthly Fee Statement)
             Case:20-01947-jwb   Doc #:411 Filed: 12/02/2020      Page 36 of 41




                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

  In re:
                                                       Chapter 11
  BARPLY VENTURES, LLC, et. al, i                      Case No. 20-01947-jwb

              Debtors.                                 (Jointly Administered)



       MONTHLY FEE STATEMENT OF AMHERST CONSULTING, LLC FOR
  COMPENSATION FOR SERVICES RENDERED & REIMBURSEMENT OF EXPENSES
    AS FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED
                     CREDITORS FOR OCTOBER 2020


 Name of Applicant:                            Amherst Consulting, LLC
 Authorized to provide services to:            Official Committee of Unsecured Creditors
 Effective Date of Retention:                  August 10, 2020 (retroactive to June 25)
 Period for which compensation is sought:      October 2020
 Amount of compensation sought as actual,      $2,470.00
 reasonable, and necessary:                    80% = $1,976.00
                                               20% = $494.00

 Amount of expense reimbursement sought:       $0.00

 Total interim request:                        $1,976.00



1 The Debtors
              are: Barfly Ventures, LLC, (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC,
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat- GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat-KC, LLC and
TikiCat)(6242), HopCat Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat- Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat- Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House LLC and McFadden's Restaurant
Saloon) (4255).



5029217,vl
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                                    Respectfully submitted by,

                                    JAFFE RAIT HEUER & WEISS, P.C.

                                    By:    /s/ Paul R, Hage
                                    Paul R. Hage (P70460) .
                                    27777 Franklin Road, Suite 2500
                                    Southfield, MI 48034
                                    Phone: (248)351-3000
                                    phage@i affelaw, com

                                    -and-

                                    SUGAR FELSENTHAL GRAIS &
                                    HELSINGER, LLP

                                    Michael A. Brandess
                                    30 N. LaSalle Street, Suite 3000
                                    Chicago, IL 60602
                                    Phone: (312) 704-9400
                                    mbradness@sfgh,com

                                    Counsel for the Official Committee of Unsecured
                                    Creditors of Barfly Ventures, LLC

Dated: November 11, 2020.
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  AmherstConsulting                                                                                              Amherst Consulting, LLC
                                                                                                                 255 E. Brown St., Ste 120
                                                                                                                    Birmingham, Ml 48009



 Customer:
Official UCC of Barfly Ventures, LLC
c/o Gordon Food Service, Inc.
                                                                                                                            Invoice
1300 Gezon Parkway S.W.
Wyoming, Ml 49509                                                                                            Invoice #:              41910
Attn: Ms, Sharon Murphy                                                                                   Invoice Date:          11/2/2020
                                                                                                             Due Date:           11/2/2020

         Date          Category           Name                       Description                      Hours          Rate         Amount
   ; 10/1/2020      Case Admin    i   Partner-Sto... i PC's w/ J. Morden (2); emails                      0.40         400.00        160.00
   110/1/2020       Asset Sales   s   MD-Morden i Review lender counter proposal on                       3.00         350.00      1,050.00
                                                     | sale (0.1), call with M. Brandess and P.
                                                     | Hage regarding settlement on asset
                                                      j claims objection and email on same to
                                                     | P. Neitzel (0.2), call with counsel on
                                                      j asset sale settlement (0.4), calls with
                                                     | counel on settlement and wind down
                                                     I budget (0.9), review wind down budget
                                                     j including variance sensitivity (1,0),
                                                     } walk through budget issues with P.
                                                     I Neitzel (0.4)
  110/2/2020        Committee         Partner-Sto... j PC w/ M. Brandess; read and respond                0.70         400.00       280.00
                    Mtg /                            ' to emails
                    Communicati j
                    on
   10/2/2020        Asset Sales | MD-Morden         j Calls with P. Neitzel and M. Brandess               0.60         350.00       210.00
                                |                   j on budget (0.5), review settlement
                                                      (0.1)
   10/2/2020        Committee    I MD-Morden        I Committee call for vote on settlement               0.40         350.00       140.00
                    Mtg/                              of sale objection
                    Communicati
                    on
   10/5/2020        Retention /  I MD-Morden        j Prep FA info                                        0.20         350.00        70.00
                    Fee
                    Applications j                                                                I
                                                    j
   10/26/2020       Asset Sales j MD-Morden         j Calls with P. Neitzel on wind down                              350.00
                                                                                                          1.60                      560.00
                                 |                  j budget for asset sale (0.2), call with M.
                                 j                  j Brandess and P. Hague on wind down
                                 j                  j budget (0.1), calls with M. Brandess on j
                                 |                  j wind down budget (0.7), review and        i
                                 {                  } test wind down budget (0.6)               |




Make Checks Payable to:     Wire Instructions:
Amherst Consulting, LLC     Comerica Bank                                            Current Invoice Total                      $2,470.00
255 E Brown St., Ste. 120   188 North Old Woodward
Birmingham, Ml 48009        Birmingham, Ml 48009 USA
                            +1 (800) 643-4421 wire transfer dept.
                            Bank Routing # 072000096
                            Bank Acct #1851115376
                            SWIFT Code: MNBDUS33
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                           Exhibit E
                       (Proposed Order)
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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN

 In re:
                                                                  Chapter 11
 BARFLY VENTURES, LLC, et al,4                                    Case No. 20-01947-jwb
                                                                  Hon. James W. Boyd
                          Debtors.                                Jointly Administered


  ORDER APPROVING FIRST APPLICATION OF AMHERST CONSULTING, LLC
             FOR COMPENSATION AS FINANCIAL ADVISOR
       TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

          This matter having come before the Court on the First Application of Amherst Consulting,

LLC for Compensation as Financial Advisor to the Official Committee of Unsecured Creditors

(the "Application")5 wherein Amherst Consulting, LLC ("Amherst") sought allowance of an

administrative expense for fees incurred as financial advisor to the Committee during the

Application Period; notice of the Application being sufficient and consistent with Compensation

Order; and no objections to the Application having been filed:

          IT IS HEREBY ORDERED:

          1.      The Application is granted.

          2.      Amherst is granted an allowed administrative expense under section 503(b)(2) for

professional fees incurred during the Application Period in the amount of $53,780.00.



4 The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a

HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand
Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann
Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit,
LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC
(d/b/a HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994), Luck
of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden's Restaurant Saloon)(4255).

5 Capitalized terms not otherwise defined herein shall have the meaning given to them in the Application.
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               The Debtors are authorized and directed to promptly pay to Amherst the

outstanding balance of the fees allowed under this Order, in the amount of $10,756.00.

       4.      This Court retains exclusive jurisdiction to resolve any dispute arising from or

related to this Order.

                                      END OF ORDER


Order prepared and submitted by:

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Southfield, Michigan 48034
Phone: (248) 351-3000
phage@i affelaw.com

Counsel for the Official Committee of Unsecured
Creditors of Barfly Ventures, LLC et. al.
